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     DOVRHQFRPSDVVHVDQLQYHVWLJDWLRQE\DFRQVRUWLXPRIVWDWH$WWRUQH\V*HQHUDORIFRQVXPHUIUDXGDOOHJDWLRQVLQYROYLQJ
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